United States District Court

UNITED STATES DISTRICT COURT Southern Fiseist of Texas
SOUTHERN DISTRICT OF TEXAS ED
McALLEN DIVISION SEP 13 2017

UNITED STATES OF AMERICA David J. Bradley, Clerk

Vv. Criminal No. M-17-0762

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NICHOLAS JOHN ZOTOS
NOTICE OF PLEA AGREEMENT

COMES NOW the United States of America, hereinafter referred to as "the Government,"
by and through its United States Attorney for the Southern District of Texas and its Assistant
United States Attorney assigned to this matter, and would respectfully show the Court that the
Government and the Defendant have entered into the following plea agreement:

1. Defendant agrees to plead guilty to Count Two of the Indictment.

2. The Government will recommend:

a. that the offense level decrease by 2 levels pursuant to U.S.S.G. § 3E1.1(a)
if the defendant clearly demonstrates acceptance of responsibility; and

b. that the remaining counts of the indictment be dismissed at the time of
sentencing.

If the Defendant is not a citizen of the United States of America, a plea of guilty may result
in removal from the United States, denial of citizenship and denial of admission to the United
States in the future.

This document states the complete and only Plea Agreement between the United States of
America and the Defendant, and is binding only on the parties to this Agreement, and it supersedes
all prior understandings, if any, whether written or oral, and cannot be modified other than in
writing and signed by all parties or on the record in Court. No other promises or inducements
have been or will be made to the Defendant in connection with this case, nor have any promises

or threats been made in connection with this plea.
ACKNOWLEDGMENTS:
I have read this agreement and carefully reviewed every part of it with my attorney. If I
have difficulty understanding the English language, I have had a person fluent in the Spanish

language interpret this agreement to me.

G f 4 Defendant: | 1 LA Lhe
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Date: ff. £

 

Jam the Defendant's counsel. I have carefully reviewed every part of this agreement with
the Defendant. I certify that this agreement has been translated to my client by a person fluent in
the Spanish language if my client is unable to read or has difficulty understanding the English
language.

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Counsel for Defehse

Date:

For the United States of America:

Abe Martinez
Acting United States Attorney

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Rolando Cantu
Assistant United States Attorney

 

APPROVED BY:

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James H. St reis
Assistat United States Attorney in Charge
